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December 3, 2023

Subject line: A proposed framework for next steps

Dear student writers, Maria, and Jorge,

I sincerely thank you for engaging this past week, through trauma and stress, with members of the
Haverford Senior Staff, additional faculty and staff members, and me. These open, honest, thoughtful, and
constructive dialogues are moving us toward the shared goal of support and care for our student
community. We share the goal of improving mechanisms of student support and care at this time of
extraordinary duress and violence, and abidingly.

I offer a set of concrete proposals, across the five topics for change, by organizing them into four areas,
with an understanding that through continuing reflection and dialogue, we may experience shifts in the
content of these areas (e.g., movement of some matters and proposals from one area to another, the
addition or subtraction of some matters and proposals). This draft framework’s four areas are: promising
opportunities/actions, possible opportunities/actions, matters that require further discussion, and items
that have reached the end of consideration (see below).

I hope that this draft framework clarifies how I understand where dialogue has brought us thus far. To get
to a shared understanding, I invite and welcome query and constructive engagement with you.

For items in “promising opportunities/actions,” I will work with my colleagues to provide a rough draft of
timelines for forthcoming steps by 4 pm tomorrow, Monday, December 4. I expect you will have
suggestions to improve that rough draft, and to that end, Joan Wankmiller will set up a first meeting for us
tomorrow from 4-6 pm, with attendance by writers staggered by topics 1-5 (with all writers being
welcome at the full meeting). This approach of staggering attendance by topics 1-5 was suggested by
Maria, Jorge, Thea, and Emma to simplify scheduling as well as offer a limit to some students’ time
commitments. I will attend all those sessions, along with available Senior Staff members VP and
Secretary to the Board Lytle, Dean McKnight, VPIEA Nikki Young, and Provost Strong-Leek. This is
just a first meeting, and together, we will need to determine a timeline for subsequent reflection and
dialogue.

I will also send you an updated draft by noon tomorrow that includes a list of items in the last two areas,
“matters that require further discussion” and “items that have reached the end of consideration.”

In closing, I request, with my colleagues and many across the Haverford community, that we add
reflection to our process. I realize that intentional and acutely attentive reflection requires quiet and time,
two commodities not readily found. I want to acknowledge the apparent conundrum in investing in the
creative gains that reflection affords while we simultaneously pursue areas calling appropriately for
urgent attention and action. I hope that together, we can work out how to untangle that apparent
conundrum in order to coherently accomplish both reflection and timely action.

Sincerely,

Wendy


Promising opportunities/actions

1. Academic Leniency
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a.          Expand the library archive by offering quick and digestible resources for faculty interested in
engaging and learning more about the historical context for the Israel/Gaza Conflict.
b.          Continuing to provide strong support from both individual faculty, as well as Deans, who are
equipped to address some of the complex
c.          issues students face as we move towards the end of a very difficult semester.
d.          Continuing to work with FAPC, and other faculty members/department chairs and such to
encourage faculty members to offer assistance to students who are experiencing difficulties due to the
crisis in Israel/Gaza as well as the recent shooting of our student, Kinnan Abdelhamid, and his friends in
Vermont.

2.          Culturally competent counseling
a.          Assess the effectiveness of Islamic Grief Counseling and consider repeat visits and/or retainer
for their services
Enhance off-campus counseling referral lists, organizing by affinities/identities to make visible the off-
campus resources for Arab students CAPS will continue receiving specialized training on issues
pertaining to the Middle East
b.          CAPS will continue to prioritize diversity and inclusion in its normal staff hiring processes

3.         Support for faculty and student activism
a.         Provide stronger support and clarity about Academic Freedom for all faculty, with a particular
emphasis on VAPs and tenure track faculty.
b.         Provide informational sessions for international students about their rights, responsibilities, and
the possibility of legal action that might be taken in the event that they participate in on and off campus
activism that leads to arrest or other difficulties.
c.         Emphasize the current protections for Academic Freedom clearly articulated in the Faculty
Handbook–provide information sessions for new faculty that highlight these protections.


4.           Accountability and restorative action
a.          Pause additional campus security and convene Campus Safety Advisory committee to discuss
next steps
b.          StuCo and Dean’s Office will invite student body to review hc-allstudents policy changes
before implementing
c.          Dean’s Office and IDEA can update community on bias policy process and explain that we’re
working toward clearer delineations of language that is inflammatory, biased, or microaggressive versus
hate speech; we can acknowledge the harm caused by inflammatory phrases like “hijacking” and “from
the river to the sea”

5.         Transparency from the Board of Managers
a.         Enhance the visibility of the “Young Alumni Associate Manager” role to invite interest from
recent graduates (up to 10 years out)
b.         Encourage the Nominations & Governance Committee of the Board of Managers to refine its
compositional criteria to advance key institutional priorities.
c.         Collaborate with Council on Sustainability and Social Responsibility (CSSR) to enable
interested students to meet with Investure and learn more about Haverford’s investment policy and its
implementation. This would be a first step toward proposing any changes to the investment policy to the
Board of Managers. Students interested in this work would have the opportunity to learn about a
meaningful policy area, with relevance beyond Haverford. It would come with no certainty that such a
proposal would be embraced in the short term, or at all, by the Board of Managers.
d.         Collaborate with CSSR, Investure, and the Investment Committee to review and refine
reporting practices related to the endowment.
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Possible opportunities/actions

Currently, all ways forward outlined in email communications with discussants fall into the “promising”
category

Matters that require further discussion

(Wendy will complete this section by noon, Monday, December 4)


Items that have reached the end of consideration

(Wendy will complete this section by noon, Monday, December 4)
